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                                         NOTICE OF AVAILABILITY

                                   VOLUNTARY DISPUTE RESOLUTION


     Pursuant to the findings and directives of Congress in 28 U.S.C. §§ 651 et seq., and in recognition
of the economic burdens and delay in the resolution of disputes that can be imposed by full formal
litigation, Local Rule 271 governs the referral of certain actions to the Voluntary Dispute Resolution
Program ("VDRP") at the election of parties. Plaintiff or removing party is to provide all other parties
with copies of the notice at the time service is effected or, for parties already served, no more than fourteen
(14) days after receiving notice from the Court. After filing of the original complaint or removal action,
any party who causes a new party to be joined in the action shall promptly serve a copy of the notice on
the new party.

    It is the Court's intention that the VDRP shall allow the participants to take advantage of a wide
variety of alternative dispute resolution methods. These methods may include, but are not limited to,
mediation, negotiation, early neutral evaluation and settlement facilitation. The specific method or
methods employed will be determined by the Neutral and the parties.

    PLEASE TAKE NOTICE that pursuant to Local Rule 271, this Local Rule applies to all civil
actions pending before any District Judge or Magistrate Judge in the District except that actions in the
following categories are exempt from presumptive inclusion: (i) prisoner petitions and actions, including
habeas corpus petitions, (ii) actions in which one of the parties is appearing pro se, (iii) voting rights
actions, (iv) social security actions, (v) deportation actions, (vi) Freedom of Information Act actions, and
(vii) actions involving the constitutionality of federal, state or local statutes or ordinances. The fact that a
case falls in a category that is exempt from the presumptive applicability of this Local Rule neither (1)
precludes the parties to such a case from agreeing to participate in an Alternative Dispute Resolution
("ADR") process, nor (2) deprives the Court of authority to compel participation in an appropriate ADR
proceeding.

    Parties may elect Voluntary Dispute Resolution with the Court indicating that all parties to the
action agree to submit the action to VDRP pursuant to Local Rule 271. Actions may not be assigned to
VDRP over the objection of a party. (Copy of sample stipulation attached hereto.) At the time of filing, a
copy of the stipulation shall be provided to the VDRP Administrator designated below:



        Sacramento Cases                                               Fresno Cases
        Voluntary Dispute Resolution                                   Voluntary Dispute Resolution
        Program Administrator                                          Program Administrator
        United States District Court                                   United States District Court
        501 "I" Street, Suite 4−200                                    2500 Tulare Street, Suite 1501
        Sacramento, CA 95814                                           Fresno, CA 93721
        (916) 930−4278                                                 (559) 499−5600
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 8                               UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA
10

11 MICHAEL TRUGILLO ,                                             NO: 2:20−CV−00275−TLN−AC

12                            Plaintiff(s)
                                                             STIPULATION TO ELECT REFERRAL
13                       v.                                 OF ACTION TO VOLUNTARY DISPUTE
                                                               RESOLUTION PROGRAM (VDRP)
14 JOLLY FARMS, INC. ,                                         PURSUANT TO LOCAL RULE 271

15                            Defendant(s)


16
17        Pursuant to Local Rule 271, the parties hereby agree to submit the above−entitled action to

18 the Voluntary Dispute Resolution Program.

19

20 DATED:       FEBRUARY 6, 2020

21

22                                                  Name:
                                                    Attorney for Plaintiff(s)
23

24

25                                                  Name:
                                                    Attorney for Defendant(s)
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